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                                      ORDERED.
     Dated: September 02, 2020




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In Re:                                                    Case No. 6:18-bk-06821-KSJ
                                                          Chapter 7
DON KARL JURAVIN

                Debtor.
____________________________________/

             FINAL ORDER GRANTING CHAPTER 7 TRUSTEE'S MOTION
                   TO APPROVE SALE OF ASSETS SUBJECT TO
             OVERBID AND FOR APPROVAL OF OVERBID PROCEDURES

         THIS CASE came on for hearing on August 17, 2020 at 9:30 a.m., on the Chapter 7

Trustee's Motion for Sale of Assets Subject to Overbid and for Approval of Overbid Procedures

("Motion") (Doc. No. 349), the Objection to Chapter 7 Trustee’s Motion to Approve Sale of

Assets Subject to Overbid and for Approval of Overbid Procedures (Doc. No. 356) filed by the

Debtor, the Motion for Clarification and/or to Amend Order Granting Chapter 7 Trustee’s

Motion to Approve Sale of Assets Subject to Overbid and for Approval of Overbid Procedures

(the “Clarification Motion”) (Doc. No. 382), and the Buyer’s Response to Debtor’s Motion for

Clarification and/or to Amend Order Granting Chapter 7 Trustee’s Motion to Approve Sale of

Assets and Memorandum of Law (Doc. No. 387). This Court previously entered an Order
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Granting Chapter 7 Trustee’s Motion to Approve Sale of Assets Subject to Overbid and for

Approval of Overbid Procedures on July 2, 2020, with respect to the approval of the bidding

procedures (Doc. No. 377). No additional bids were received by the Trustee during the Bidding

Period. After considering the Motion and the representation that the parties have agreed to

remove First Global Health Corporation from the sale, and based upon arguments presented at

the hearing with respect to the social media accounts, the Court finds that any and all interest of

the Debtor in and to any of social media accounts are property of the estate pursuant to §541 of

the Bankruptcy Code and the social media accounts are therefore transferrable from the estate

and they have been sold by the Trustee to the purchaser, therefore it is

       ORDERED:

       1.      The Clarification Motion (Doc. No. 382) is GRANTED in part, and DENIED in

part, as follows:

               a. the Debtor’s interest in First Global Health Corporation shall not be included in
                  the sale of the Debtor’s assets; and

               b. With regard to the social media accounts included in subparagraph 3. e. below
                  Wilmington Financial Services, LLC (“Wilmington”) shall permanently
                  acquire all Debtor’s right title and interest in the accounts and their content.
                  However, Wilmington including any and all affiliates, agencies, principals,
                  agents, officers, directors, attorneys and employees, both past and present, and
                  all of the preceding persons, representatives, administrators, successors and
                  assigns, d/b/a’s, partners, owners, officers, directors, employees, and
                  shareholders/equity interests (collectively the “Buyer”) is/are prohibited from
                  posting items to the accounts other than the following notice:

                                      NOTICE OF SALE AND SHUT DOWN

                       Pursuant to the court’s decision to approve the sale of Debtor’s
                       assets announced on August 17, 2020 in the UNITED STATES
                       BANKRUPTCY COURT, MIDDLE DISTRICT OF FLORIDA,
                       ORLANDO DIVISION, In Re: Case No. 6:18-bk-06821-KSJ,

                                                 2
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                       Chapter 7, DON KARL JURAVIN, Debtor: Wilmington Financial
                       Services, LLC has acquired all Debtor’s right title and interest in
                       this account and its content. This account is shut down.

               c. Buyer shall deactivate the accounts within 90 days after posting the notice of
                  sale and shutdown.

       2.      The sale of the Property to Wilmington Financial Services, LLC is APPROVED.

       3.      The Chapter 7 Trustee, Dennis D. Kennedy, is authorized to execute a bill of sale

to Wilmington Financial Services, LLC, a Delaware limited liability company, for the following

Property:

               a. 2014 Jeep Wrangler, VIN # 1C4BJWDG8EL230021;

               b. 2018 Mercedes Benz GLS550W4, VIN # 4JGDF7DE7JB003154;

               c. Any and all of the Bankruptcy Estate’s causes of action, excluding any causes
                  of action arising under Chapter 5 of Title 11 of the United States Code and/or
                  which were not ripe as of the date Debtor’s assets became assets of the
                  Bankruptcy Estate;

               d. Any and all of the Debtor’s interest in Must Cure Obesity, Co.; Juravin, Inc.;
                  and Roca Labs Nutraceutical USA, Inc.; and

               e. Any and all of the Bankruptcy Estate’s interest in websites, blogs and social
                  media accounts, together with any and all passwords necessary to control the
                  web sites, blogs and social media accounts.

       4.      The Debtor, Don Karl Juravin, is ordered to provide any and all documents

reasonably requested by the Trustee or Wilmington Financial Services, LLC with respect to the

Property.

       5.      This Court shall retain jurisdiction to determine any disputes related to the

interpretation of this Order.

Bradley M. Saxton is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.

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